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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-cr-382 (PLF)
                                              :
CHRISTOPHER WARNAGIRIS,                       :
                                              :
                       Defendant.             :

                                    JOINT STATUS REPORT

       Pursuant to the Court’s April 8, 2024 Minute Order, the parties have met and conferred,

and propose the following dates for a post-trial briefing schedule:


          Date                   Description

                                 The defendant shall file any supplemental
          April 12, 2024         briefings on the matters mentioned in the Court’s
                                 April 8, 2024 Minute Order.
                                 The government shall file its responses, if any, to
                                 the above issues as well as the defendant’s oral
          April 26, 2024
                                 motion to dismiss based on Gaither v. United
                                 States, 413 F.2d 1061 (D.C. Cir. 1969).
                                 The defendant shall file his replies, if any, to the
          May 17, 2024
                                 above issues.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
For the Defendant,                            D.C. Bar Number 481052


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